968 F.2d 1502
    59 Empl. Prac. Dec. P 41,611, 76 Ed. Law Rep. 354
    Sarah M. CIPRIANO, Jeune M. Miller, Plaintiffs-Appellants,v.BOARD OF EDUCATION OF the CITY SCHOOL DISTRICT OF the CITYOF NORTH TONAWANDA, NEW YORK, Defendant-Appellee.
    No. 1680, Docket 91-9050.
    United States Court of Appeals,Second Circuit.
    Argued June 15, 1992.Decided June 30, 1992.
    
      Christopher G. Mackaronis, Washington, D.C.  (Bell, Boyd &amp; Lloyd, Washington, D.C., David G. Jay, Buffalo, N.Y., of counsel), for plaintiffs-appellants.
      Edward C. Cosgrove, Buffalo, N.Y.  (Judith Blake Manzella, of counsel), for defendant-appellee.
      Before:  MESKILL and PRATT, Circuit Judges, and MERHIGE,* District Judge.
      PER CURIAM:
    
    
      1
      This is an appeal from a judgment of the United States District Court for the Western District of New York, Curtin, J., dismissing on summary judgment plaintiffs' Age Discrimination in Employment Act suit.   Plaintiffs argue, inter alia, that the district court erred by requiring a showing that the early retirement incentive plan that they challenged discriminated in a non-fringe aspect of the employment relationship.   We disagree.   See Public Employees Retirement System of Ohio v. Betts, 492 U.S. 158, 109 S.Ct. 2854, 106 L.Ed.2d 134 (1989).
    
    
      2
      The judgment of the district court is affirmed substantially for the reasons set forth in Judge Curtin's opinion.  Cipriano v. Board of Education, 772 F.Supp. 1346 (W.D.N.Y.1991).
    
    
      
        *
         Hon.  Robert R. Merhige, Jr., United States District Judge of the Eastern District of Virginia, sitting by designation
      
    
    